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 5
     Attorney for Chris ANG
 6
                             IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-318 LKK
 9                   Plaintiff,       )
                                      ) STIPULATION AND
10         v.                         ) ORDER TO CONTINUE THE STATUS
                                      ) CONFERENCE
11   JOY JOHNSON, et al.,             )
12
                                      ) Date: 1-18-12
                         Defendant.   ) Time: 9:15 a.m.
13   ================================) Judge: Hon. Lawrence K. Karlton
14          It is hereby stipulated between the parties, Assistant United States Attorney Russell
15
     Carlberg, Michael Long, attorney for CLARISA ANG, and Michael Bigelow, attorney for CRIS
16
     ANG, that the sentencing hearing date of December 20, 2011, should be continued until January 18,
17

18
     2012. The continuance is necessitated for the following reasons: the Probation officer has prepared

19   a conscientious and detailed draft presentence report. Both counsel have reviewed the report in

20   detail with their clients. During our review it became apparent that the probation officer was
21
     operating from additional or different information and documents that had been made available to
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     either counsel. The result was a determination of loss amount and number of victims that was
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     different from what we as counsel had anticipated, and, indeed, what had been agreed to, or at least
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25   not addressed in the plea agreement. The AUSA, Mr. Carlberg was contacted on November 18,

26   2011, as soon as undersigned counsel realized the problem. After some inquiry and reflection, Mr.
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     Carlberg affirmed that we had not been provided with a “substantial” (his word) amount of
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 1   discovery. The fact counsel for the Ang’s were not in possession of the documents referenced by
 2
     AUSA Carlberg undoubtedly came about because the Angs were either the first or among the first
 3
     to resolve their respective cases and as the other cases continued to move forward they were
 4
     provided with additional documents not provided the Angs. Nonetheless, in order to effectively
 5

 6   represent our respective defendants, and make meaningful objections to the Probation Officer’s

 7   draft PSR it will be necessary to review the same documents made available to the probation officer
 8
     and from which she based her conclusions and recommendation.
 9
               As noted, Mr. Carlberg has been contacted and agrees that continuance is in order. He is in
10
     a trial until November 29, 2011 and is working as expeditiously as possible to obtain the documents
11

12
     for us.

13             Informal objections to the PSR are currently due on November 22, 2011. Because
14   undersigned counsel are unable to respond without reviewing the missing documents, a continuance
15
     of the briefing schedule is required as well as a continuance of the sentencing. The following dates
16
     are stipulated to by the parties:
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               Judgment and sentencing date:                                1/18/2012

19             Reply, or non-opposition:                                    1/10/12

20             Motion for Correction of the Presentence Report
               Shall be filed with the court and served on the Probation
21
               Officer and disclosed to counsel no later than:              1/3/12
22
               The Presentence shall be filed no later than:                12/27/11
23
               Counsel’s written objections to the Presentence Report
24
               Shall be filed no later than:                                12/20//11
25
               The Draft Presentence report has already been distributed.
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 1   Dated: November 22, 2011                   Respectfully submitted,
 2
                                                /s/ Michael D. Long__________
 3                                              MICHAEL D. LONG
                                                Attorney for Clarisa Ang
 4
     Dated: November 22, 2011                   BENJAMIN WAGNER
 5
                                                United States Attorney
 6
                                                /s/ Russell Carlberg____
 7                                              RUSSELL CARLBERG
                                                Assistant U.S. Attorney
 8

 9   Dated: November 22, 2011                   Respectfully submitted,

10                                              /s/ Michael Bigelow__________
                                                MICHAEL BIGELOW
11                                              Attorney for Cris Ang
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12
                                      ) Date: 1-18-12
                         Defendant.   ) Time: 9:15 a.m.
13   ================================) Judge: Hon. Lawrence K. Karlton
14

15
             UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the

16   sentencing hearing for CLARISA ANG and CRIS ANG, presently set for December 20, 2011, at

17   9:15 a.m. be continued to January 18, 2012, at 9:15 a.m. The revised schedule for the pre-sentence
18
     report shall be as follows:
19
             Judgment and sentencing date:                                1/18/2012
20           Reply, or non-opposition:                                    1/10/12
             Motion for Correction of the Presentence Report
21
             Shall be filed with the court and served on the Probation
22           Officer and disclosed to counsel no later than:              1/3/12
             The Presentence shall be filed no later than:                12/27/11
23           Counsel’s written objections to the Presentence Report
             Shall be filed no later than:                                12/20//11
24
             The Draft Presentence report has already been distributed.
25
     Dated: November 23, 2011
26

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